                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In re: SIMPLICITY CATERERS, LLC     )
                                    )                      Case No.: 19-82798-CRJ-11
      EIN: xx-xxx0065               )
                                    )
      Debtor.                       )                      CHAPTER 11
____________________________________)

                             FINAL APPLICATION FOR
                       APPROVAL OF DEBTOR’S ATTORNEY FEES

       COMES NOW MDM Holdings, Inc., as Chapter 11 Debtor (the “Debtor”), and Sparkman,
Shepard, and Morris P.C., as Debtor’s court-approved counsel (the “Debtor’s Attorneys”), in
conformity with 11 U.S.C. § 330 and FRBP Rule 2016(a), and respectfully show this Court as
follows:

       1.   In this case, the Court has previously approved the following interim applications for
fees and expenses of the Debtor’s Attorneys (the “Approved Interim Fee Applications”):

   Approval Date         Period                Fees            Expenses         Total Due

    02/11/2020      09/17/19 – 11/26/19    $ 4,578.00          $ 306.40        $ 4,884.40
    04/23/2020      12/02/19 – 03/27/20    $ 8,345.00          $ 574.55        $ 8,919.55
      Total                                $12,923.00          $ 880.95        $13,803.95
       2.     On October 8, 2019, this Court granted the Debtor’s Motion to Fix Procedure for
Periodic Interim Allowance of Compensation and Reimbursement of Expenses for Chapter 11
Attorneys, establishing a Monthly Fee Notice procedure. Following is a list of the Notices of
Monthly Compensation and Reimbursement of Expenses for Chapter 11 Debtor's Attorneys in this
case which have not come before this Court for approval on an interim basis:
   Notice Date           Period                Fees            Expenses         Total Due

   04/29/2020       April 2020               $ 956.00            $ 15.60        $ 971.60
   05/06/2020       May 2020                 $1,554.00           $ 44.80        $1,598.80
   Total                                     $2,510.00           $ 60.40        $2,570.40

       3.     To date, no party has objected to Monthly Fee Notices or to the Debtor’s Attorneys’
approved Interim Fee Applications.




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       4.      The Debtor and the Debtor’s Attorneys request that this Court approve final
compensation to the Debtor’s Attorneys in the amount of $15,433.00 and reimbursement of expenses
in the amount of $941.35 for services rendered to the Debtor’s estate between September 17, 2019
and May 6, 2020.

       WHEREFORE, the Debtor and the Debtor’s Attorneys respectfully request that the Court
enter an Order: approving final compensation to the Debtor’s Attorneys in this matter in the amount
of $15,433.00 and reimbursement of expenses in this matter totaling $941.35; and granting such
further relief as this Court deems just and proper.

       Respectfully submitted this the 7th day of May, 2020.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV
                                             Attorneys for the Debtor

                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P. O. Box 19045
                                             Huntsville, AL 35804
                                             Tel: 256/512-9924
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                                   CERTIFICATE OF SERVICE

       This is to certify that this the 7th day of May, 2020, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.

                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard




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